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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

Stephen Kuntz,                                :
                                              :
               Plaintiff,                     :      Case No. 2:22-cv-1811
                                              :
       v.                                     :      Judge Sarah D. Morrison
                                              :
The Ohio State University,                    :      Magistrate Judge Chelsey M. Vascura
                                              :
               Defendant.                     :

                                        STATUS REPORT

       Defendant, The Ohio State University submits this Status Report, as Plaintiff was out-of-

pocket. The parties have finalized the terms the settlement in this matter, and the agreement will

soon be circulated for signature. However, due to logistical considerations, it could take up to 60

days from the date of this Report for the matter to be dismissed, although the parties are committed

to closing this matter out as soon as possible.

                                              Respectfully Submitted,

                                              DAVE YOST (0056290)
                                              ATTORNEY GENERAL OF OHIO

                                                     /s/ Christopher E. Hogan
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                                              The Ohio State University
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on August 4, 2022, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system which will also send such notification to:

Elizabeth S. Tuck
The Tuck Firm, LLC
810 Sycamore Street, 4th Floor
Cincinnati, Ohio 45202
Counsel for Plaintiff



                                                    /s/ Christopher E. Hogan
                                             Christopher E. Hogan                  (0070236)




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